                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA
                                                           Criminal No.: 16-CR-10343-ADB
        v.
                                                           LEAVE TO FILE GRANTED ON
MICHAEL J. GURRY, et al.,                                  OCTOBER 21, 2019
        Defendants.


             REPLY IN SUPPORT OF MOTION TO CONTINUE SENTENCINGS

       Trial defendants appreciate the government’s consent to a modest continuance of the

sentencings, but respectfully disagree that the sentencings of Michael Babich and Alec Burlakoff

should be set last. As trial defendants argued previously, scheduling Babich and Burlakoff last

risks that the government could take inconsistent positions of fact or law in their sentencings

compared to trial defendants. The risk is heightened because the government has yet to announce

its approach to forfeiture, which is of most concern to defendants Kapoor (whom the government

proposes to go first) and Babich and Burlakoff (whom the government proposes to go last).

       Consistent with the current schedule, trial defendants submit that the sentencings of

Kapoor, Babich, and Burlakoff should be set in succession, in whatever order the Court deems

appropriate. Trial defendants submit that the remaining sentencings can occur in close proximity

thereafter, preferably in the current order (Simon, Lee, Gurry, Rowan). To avoid conflict with the

trial schedule of Dr. Kapoor’s lead counsel,1 and to ensure that all seven sentencings can be held




1
  The district judge in the case that Ms. Wilkinson is set to try in S.D.N.Y. indicated last week that
“we are talking about going into December, well into December, two weeks into December, I
think.” Final Pretrial Conference Transcript, In re Namenda (October 10, 2019).
in close proximity without running into the end of year holidays, trial defendants respectfully

submit that setting the sentencings for January would be prudent.

Dated: October 21, 2019                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document will be served on all counsel of record
through the ECF system.

                                                    /s/ Kosta S. Stojilkovic
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